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                                                    April 13, 2020

Via ECF

Hon. Paul G. Gardephe, D.J.
United States Courthouse
40 Foley Square
New York, NY 10007                                                                April 14, 2020

               Re:     United States of America v. Javier Janel
                       19 Cr. 00818 (PGG)

Dear Judge Gardephe:

       Defendant Javier Janel is quarantined at the MCC. As such, he is under quarantine and
can only make phone calls every three days. As such, he must now choose between calling his
family or calling his lawyer. The MCC personnel will accommodate court ordered phone calls
and permit him to keep his scheduled personal calls.

        I am hereby requesting that this Court issue an order permitting defendant to make “legal
calls” to his attorney, the undersigned once per week.

       Thank you for your attention to this.

                                                    Very truly yours,

                                                    Evans D. Prieston
                                                    Evans D. Prieston
